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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       *
                                               *
                      v.                       *     Case No. 8:18-cr-00157-TDC
                                               *
LEE ELBAZ,                                     *
                                               *

                           MOTION TO WITHDRAW AS COUNSEL

       Undersigned counsel respectfully moves this Court for an order allowing Alex Spiro,

John Chun, and the law firm of Quinn, Emanuel, Urquhart & Sullivan LLP (“Quinn Emanuel”)

(collectively, the “Quinn Attorneys”), to withdraw as counsel for Defendant Lee Elbaz. Good

cause for their withdrawal is demonstrated in the accompanying Memorandum in Support of

Motion to Withdraw as Counsel (the “Memorandum”), filed under seal and ex parte.

       For reasons stated in the Memorandum, the Quinn Attorneys ask this Court to grant the

instant motion and permit the Quinn Attorneys to withdraw as counsel for the Defendant.

Attached for the Court’s review and convenience is a proposed order that conforms to the relief

requested herein.


Date: December 11, 2018                    Respectfully submitted,



                                           Alex Spiro
                                           John Chun
                                           QUINN EMANUEL URQUHART &
                                           SULLIVAN, LLP
                                           51 Madison Avenue, 22nd Floor
                                           New York, New York 10010-1601
                                           (212) 849-7000

                                           Counsel for Defendant Lee Elbaz




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                                CERTIFICATE OF SERVICE


       I hereby certify that on December 11, 2018, I caused to be electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will notify counsel

for the government of the filing.




                                                 John Chun




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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                      *
                                              *
                        v.                    *
                                              *    Case No. 8:18-cr-00157-TDC
LEE ELBAZ,                                    *
                                              *


    [PROPOSED] ORDER GRANTING MOTION TO WITHDRAW AS COUNSEL


         Having reviewed their Motion to Withdraw as Counsel, it is hereby ORDERED that the

Motion to Withdraw as Counsel is GRANTED and that Alex Spiro, John Chun, and the law

firm of Quinn, Emanuel, Urquhart & Sullivan LLP are hereby withdrawn as counsel for the

Defendant, Lee Elbaz.



Dated:
                                                   United States District Judge




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